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 7

 8                            UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEVADA
 9
10 UNITED STATES OF AMERICA,                     2:16-CR-100-GMN-CWH

11               Plaintiff,                      Notice of Non-Opposition

12        v.

13 JAN ROUVEN FUECHTENER,
   aka Lars Schmidt,
14

15               Defendant.

16        The United States of America respectfully files this Non-Opposition to defendant Jan

17 Fuechtener’s Motion to Withdraw Response, ECF No. 409.

18        Respectfully submitted this 16th day of March 2020.

19                                                       NICHOLAS A. TRUTANICH
                                                         United States Attorney
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21                                                       /s/ Daniel D. Hollingsworth
                                                         DANIEL D. HOLLINGSWORTH
22                                                       Assistant United States Attorney
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          Case 2:16-cr-00100-GMN-DJA Document 411 Filed 03/16/20 Page 2 of 2



 1                               CERTIFICATE OF SERVICE

 2         A copy of the foregoing was served upon counsel of record via Electronic Filing on

 3   March 16, 2020.

 4                                                    /s/ Heidi L. Skillin
                                                     HEIDI L. SKILLIN
 5                                                   FSA Contractor Paralegal
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